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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                         |
UNITED STATES OF AMERICA,                                |
                                                         |
                        Plaintiff,                       |
                                                         |          18 Cr 602 (WHP)
                        -v-                              |          18 Cr 850 (WHP)
                                                         |
MICHAEL COHEN,                                           |
                                                         |
                        Defendant.                       |
                                                         |
--------------------------------------------------------x


        Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, MICHAEL D. MONICO hereby moves this

Court for an Order for admission to practice pro hac vice as counsel for Michael Cohen

in the above-captioned actions.

        Michael D. Monico states that he is a member in good standing of the bar of the

state of Illinois and there are no pending disciplinary proceedings against him in any

state or federal court. Michael D. Monico has never been censured, suspended,

disbarred or denied admission or readmission by any court. An affidavit pursuant to

Local Rule 1.3 is attached.



February 15, 2019                                       /s/ Michael D. Monico



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